    Case 1-18-43723-nhl   Doc 4   Filed 06/27/18   Entered 06/27/18 14:04:19




1:18-bk-43723

Chase Bank, N.A.
PO Box 15145
Wilmington, DE 19850

Dimitrios Oikonomopoulos
129-19 7th Ave
College Point, NY 11356

New York City
Department of Health and Mental Hygiene
Office of the General Counsel
42-09 28th Street, 14th floor
Long Island City, NY 11101

Rigel Shaholli
32 Broadway
Suite 1818
New York, NY 10004

Yannis Bonikos
2403 Ditmars Blvd
Apartment 2R
Astoria, NY 11105
